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                                                   May 8, 2019


VIA ECF

Hon. Kevin McNulty, U.S.D.J.                                       Honorable James B. Clark, III, U.S.M.J.
United States District Court                                       United States District Court
District of New Jersey                                             District of New Jersey
U.S. Post Office and Courthouse Building, Courtroom 4              50 Walnut Street
Newark, New Jersey 07102                                           Newark, New Jersey 07101


         Re:     Collick et al. v. William Paterson University et al.
                 Civil Action No. 2:16-cv-00471-KM-JBC

Dear Sir/Madam:

       This office represents Defendants in the above matter. Enclosed for your consideration is a Consent
Order of Voluntary Dismissal of Certain Claims.

         We thank the Court for its courtesies in this matter.

                                                   Respectfully sutorttgdr



                                                   Maun          ucci Jr.

MT:bls

cc:      All Counsel of Record (via ECF)




WEST ORANGE NEW JERSEY                        TRENTON NEW JERSEY                           NEW YORK NEW YORK

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